       Case 5:21-cv-00620-OLG-RBF Document 12 Filed 08/30/21 Page 1 of 1                          FILED
                                                                                              August 30, 2021
                                                                                            CLERK, U.S. DISTRICT COURT
                                                                                            WESTERN DISTRICT OF TEXAS

                                     UNITED STATES DISTRICT COURT                                                  JU
                                                                                        BY: ________________________________
                                      WESTERN DISTRICT OF TEXAS                                                 DEPUTY
                                        SAN ANTONIO DIVISION


AZIZ ALDEN,                                               §
                        Plaintiff,                        §
v.                                                        § CIVIL ACTION NO. SA-21-CV-620-OLG
                                                          §
                                                          §
WELLS FARGO BANK, N.A.,                                   §
                Defendant,                                §


                                                ADVISORY

        The Court recused itself in this case on August 19, 2021 following a review of the stocks and
mutual funds which the Court owns or has a financial interest. Upon discovering that the Court had a
financial interest in defendant’s company in a sum not greater than $10,000.00, the Court recused
pursuant to the Code of Conduct for U.S. Judges.

        Canon 3B(c) provides in part that a judge should recuse in a case where the Court “has a
financial interest in the subject matter in controversy or is a party to the proceeding.”

      However, upon further review and study after August 19, 2021, the Court learned of the
Committee of Codes of Conduct Advisory number 69 which provides in part.

        “Notwithstanding the preceding provisions of this Canon, if a judge to whom a matter has been
        assigned would be disqualified because of a financial interest in a party (other than and interest
        that could be substantially affected by the outcome), disqualification is not required if the judge
        (or the judge’s spouse or minor child) divests the interest that provided the grounds for the
        disqualification.”

       On August 23, 2021, the Court sold or divested all interest in defendant’s company and
informed the Clerk of Court to return the case to the Court.

       Notwithstanding this advisory, should either party wish for this case to be transferred to
another Judge, the Court shall transfer the case. Please advise the Clerk of Court no later than Tuesday,
September 7, 2021.

        SIGNED this the 30th day of August 2021.


                                                       ____________________________________
                                                                  ORLANDO L. GARCIA
                                                            Chief United States District Judge
